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 5
     Mark S. Bosco
 6   State Bar No. 010167
     Leonard J. McDonald
 7   State Bar No. 014228
     ljm@tblaw.com
 8   Attorneys for Secured Creditor
 9   19-04424
10                       IN THE UNITED STATES BANKRUPTCY COURT
11                                  FOR THE DISTRICT OF ARIZONA
12

13   IN RE:                                                                    Chapter 13
14
     Tana Curry                                                        Case No. 2:19-bk-12412-PS
15
                  Debtors.                                       OBJECTION TO CHAPTER 13 PLAN
16   _______________________________________
     U.S. Bank National Association                                 IN RE: Real Property Located at
                                                                          4115 W Mescal St
17
                                                                         Phoenix, AZ 85029
                     Secured Creditor,
18            vs.
19
     Tana Curry, Debtors; Russell Brown, Trustee.
20
                     Respondents.
21

22

23            U.S. Bank National Association, a secured creditor, by its attorneys, TIFFANY & BOSCO, P.A.,

24   hereby objects to the proposed Chapter 13 Plan filed by the Debtor for the following reason:

25            The Chapter 13 Plan does not adequately provide for repayment of arrearages owed to U.S. Bank

26   National Association in the approximate amount of $1,608.57. U.S. Bank National Association




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 1   is in the process of filing a Proof of Claim. U.S. Bank National Association requests that the arrearages be
 2   paid through the Plan.
 3          WHEREFORE, Secured Creditor prays as follows:
 4              1. That confirmation of the proposed Chapter 13 Plan be denied;
 5              2. For attorney’s fees and costs incurred herein;
 6              3. For such other and further relief as this Court deems just and proper.
 7          DATED this 8th day of November, 2019.

 8                                                         Respectfully submitted,
 9
                                                           TIFFANY & BOSCO, P.A.

10                                                         BY: /s/ LJM #014228
                                                                Mark S. Bosco
11                                                              Leonard J. McDonald
                                                                Attorneys for Secured Creditor
12   COPY of the foregoing mailed
     November 8, 2019 to:
13

14   Tana Curry
     4115 West Mescal Street
15   Phoenix, AZ 85029
     Debtors
16
     Thomas Adams McAvity
17
     4602 E Thomas Rd,
18   Ste S-9
     Phoenix, AZ 85028
19   Attorney for Debtor

20   Russell Brown
     3838 North Central Avenue
21
     Suite 800
22
     Phoenix, AZ 85012-1965
     Trustee
23
     By: Jody Wilkens
24

25

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